Case 1:18-cv-01105-I\/|N Document 5 Filed 07/31/18 Page 1 of 3 Page|D #: 69

AO 440 (Rev. 06."12) Sumrnons in a Civi] Action

 

UNITED STATES DISTRICT COURT

for the

District of Delaware

Riggs Techno|ogy Holdings, LLC

 

le'n!ijjr(s)

v. Civil Action No. 18-‘1 105

Internet Brands, |nc.

 

Defendant(.sj
SUMMONS IN A CIVLL ACTION

TO: (Defendant’s name andaddress) |niernei Brand$ lnC.
c/o Corporation Service Company
251 Litt|e Fai|s Drl've
Wi|mington, DE 19808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) a or 60 days if you
are the Unitecl States or a United States agency, or an officer or employee oi` the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) j you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Stamatios Stamou|is #4606

STAMOUL|S & WElNBLATT LLC

Two Fox Point Centre

6 Denny Road, Suite 307

Wi|mington, DE 19809

Te|. (302) 999-1540/ Emai|: stamou|is@swde|aw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaintl
You also must file your answer or motion with the court.

CLERK_OF CO URT

Date: Mis_ y_ gc::_::»

Si n lerk or Deputy Clerk

Case 1:18-cv-01105-I\/|N Document 5 Filed 07/31/18 Page 2 of 3 Page|D #: 70

AO 440 (RevA 06/12) Summons in a Civil Action (Page 2)

 

 

Civil Action No.13“1105

PROOF OF SERVICE
(Tkis section should not befiled with the court unless required by Fed. R. Ct'v. P. 4 (l))

This summons for (name of individual and rizle, :fany) lnternet Brands lnc.

 

was received by me on (dare) 07/30/2018

ij l personally served the summons on the individual at (place)

 

011 (do're) § Ul’

 

E| l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

d l served the summons on (mvme pfindividuay Lynanne Gares- Authorized to Accept , who is

 

designated by law to accept service of process on behalf of pmme ofargonizwim) Corporatign Service Cgmpany

251 Little Fa||s Drive, Wi|mington, DE 19808 @1 1126 a.rn. 011 (¢lflf€) 07130/2018 7 ; Of

 

 

ij I returned the summons unexecuted because or

 

l i:l OlllEI° (.\pecij_"y):

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

care 07/30/2018 HWMQ j » L( j WM

Server ’s signature

Kendra Watson - Process Server

Prr'nted name and title

 

230 No!th Nlarket Street
Wi|mington, DE 19801

 

Server ’s oddres.s'

Additional information regarding attempted service, etc:

Case 1:18-cv-OllO5-I\/|N Document 5 Filed 07/31/18 Page 3 of 3 Page|D #: 71

AO BSA (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge

UNITED STATES DIsTRICT CoUR'r
for the
District of Delaware

 

Plaintrj§‘

v. Civii Action No.

 

¥./`~_./\-»J\,/\-./

Defendc!ni
NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

Noiice of a magistrate judge ’s availability A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent

You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequencesl The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

Consent to a magistrate judge ’s consideration of o dispositive motion The following parties consent to have a

United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identii§) each motion by document number and iiile).

Motions:

 

 

 

Parries ’ printed names Signarnres of parties or attorneys Dotes

 

 

 

Reference Order

IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 63 6(c).

Date:

 

Disiricr Judge ’s signature

 

Prinied name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.

